            Case 1:20-mc-00361-CM
            Case 1:20-mc-00361-CM Document
                                  Document 45 Filed
                                              Filed 11/04/20
                                                    11/05/20 Page
                                                             Page 11 of
                                                                     of 22




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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INRE:                                                    EX PARTE ORDER

LETTER ROGATORY FOR                                      No. 20 Misc. 361
INTERNATIONAL JUDICIAL
ASSISTANCE FROM THE SIXTY
-SECOND CIVIL JUDGE OF MEXICO                                 USDCSDNY
CITY, MEXICO, IN THE MATTER                                   DOCUMENT
OF BANCO AZTECA COMPANY AND                                   ELECTRONICALLY FILED
FULL-SERVICE BANK, ET AL. v.
                                                              DOC#:           I~
COMUNICACION e INFORMACION
VARIABLE CAPITAL COMPANY                                      DATT FlLEb:   11[5
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                 WHEREAS , the United States of America, by its attorney, Audrey Strauss,

Acting United States Attorney for the Southern District of New York, on behalf of the Sixty-

Second Civil Judge of Mexico City, Mexico , is seeking to obtain information from Goldman

Sachs & Co., LLC, in New York, New York, for use in connection with a judicial proceeding

pending in that court captioned Banco Azteca Company and Full-Service Bank, et al. v.

Comunicaci6n e lnformaci6n Variable Capital Company;

                 NOW THEREFORE, it is hereby ORDERED, pursuant to 28 U.S.C. § 1782(a)

and Rule 28(a) of the Federal Rules of Civil Procedure, that Jacob Lillywhite, Assistant United

States Attorney, Southern District of New York, be and hereby is appointed as Commissioner, to

take such lawful steps as are necessary to obtain information from Goldman Sachs & Co., LLC

and to submit said information to the United States Attorney for the Southern District of New

York for transmission to the United States Department of Justice or its designee.

                 IT IS FURTHER ORDERED that the United States Attorney's Office shall serve
             Case1:20-mc-00361-CM
             Case 1:20-mc-00361-CM Document
                                   Document45 Filed
                                               Filed11/04/20
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Goldman Sachs & Co. , LLC with a copy of this Order and the accompanying documents.




Dated:   NJ}::::t;_wG:, 2020
         '




                                         UNITED STA TES DISTRICT JUDGE




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